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                              No. 23-60069


             IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FIFTH CIRCUIT


                        STATE OF TEXAS, et al.,

                                         Petitioners,

                                   v.

   UNITED STATES ENVIRONMENTAL PROTECTION AGENCY, et al.,

                                         Respondents.


 PETITION FOR REVIEW OF A FINAL AGENCY ACTION OF THE UNITED
         STATES ENVIRONMENTAL PROTECTION AGENCY


    RESPONDENTS’ RESPONSE IN OPPOSITION TO MISSISSIPPI
           PEITITIONERS’ JOINT MOTION TO STAY


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                   CERTIFICATE OF INTERESTED PERSONS

      Under the fourth sentence of Fifth Circuit Rule 28.2.1, Respondents, as

governmental parties, need not furnish a certificate of interested persons.



Date: May 30, 2023

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                                INTRODUCTION

      Under the Clean Air Act’s (“Act”) “Good Neighbor Provision,” 42 U.S.C.

§ 7410(a)(2)(D)(i)(I), states must ensure that their emissions do not significantly

contribute to other states’ air quality problems. In 2015, EPA revised national air

quality standards for ozone, which required states to prepare plans to attain and

maintain the new standards, including Good Neighbor requirements. Numerous

states, including Mississippi, submitted plans for EPA’s review that proposed no

emissions reductions to address pollution in downwind states. Upon careful

evaluation, EPA disapproved 21 submissions for not adequately addressing their

Good Neighbor obligations. 88 Fed. Reg. 9336, 9338 (Feb. 13, 2023) (“Final

Rule”) (Ex. 1).

      Mississippi-based Petitioners’ (“Mississippi”) stay motion relies primarily

on this Court’s non-binding and state-specific order staying the Final Rule as to

Texas and Louisiana. That order (with which EPA disagrees) does not support

Mississippi’s belated request for such extraordinary relief. Not only did EPA

disapprove Mississippi’s plan for reasons not addressed by the order, but

Mississippi does not independently establish irreparable harm absent a stay.

      First, Mississippi’s challenge is unlikely to succeed because the record

supports EPA’s disapproval and should be upheld under the Administrative

Procedure Act (“APA”) standard of review. Mississippi relied on EPA’s
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modeling, which consistently showed that Mississippi’s emissions contribute to

downwind ozone pollution. Under the Act, Mississippi should have analyzed

whether those emissions contributions were significant.

      Second, Mississippi has established no irreparable harm from the Final

Rule—which does not require Mississippi to do anything—or from the federal plan

that EPA must promulgate, which once effective will impose minimal compliance

burdens for Mississippi sources before this litigation is resolved.

      Third, the balance of equities and the public interest disfavor a stay, which

would hamstring EPA’s ability to address Mississippi’s harmful emissions while

litigation proceeds, leaving those downwind to suffer worse air quality and

increased regulatory burdens.

                                 BACKGROUND

I.    Statutory Background

      The Act seeks “to protect and enhance the quality of the Nation’s air

resources so as to promote the public health and welfare,” 42 U.S.C. § 7401(b)(1),

and to control air pollution through a system of shared federal and state

responsibility, see Gen. Motors Corp. v. United States, 496 U.S. 530, 532 (1990).

The Act directs EPA to establish and revise National Ambient Air Quality

Standards (“NAAQS”), limiting the concentration of certain pollutants in the

ambient air. 42 U.S.C. §§ 7407-09.


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      Once EPA sets NAAQS, states must propose state implementation plans

(“SIPs”) to implement and enforce the NAAQS. 42 U.S.C. § 7410(a). Under the

Good Neighbor Provision, SIPs must contain “adequate provisions . . . prohibiting

emissions activity . . . which will . . . contribute significantly to nonattainment in,

or interfere with maintenance” of the NAAQS in downwind states. Id.

§ 7410(a)(2)(D)(i)(I).

      The Act requires EPA to review states’ submissions for compliance with the

Act, including the Good Neighbor Provision. Id. § 7410(k)(3). If EPA

disapproves a SIP, it must promulgate a federal implementation plan (“FIP”). Id.

§ 7410(c)(1).

      Areas that do not attain the NAAQS (“nonattainment areas”) are subject to

attainment deadlines; failure to meet those deadlines leads to reclassification and

increasingly stringent emissions-reduction requirements. 42 U.S.C. §§ 7501-15;

see 87 Fed. Reg. 60897 (Oct. 7, 2022) (reclassifying Houston-Galveston-Brazoria

nonattainment area to “Moderate” for failure to timely attain 2015 ozone NAAQS).

II.   Factual Background

      A.     Implementation of the Good Neighbor Provision

      Ozone and its precursors travel great distances, and many states have

problems attaining and maintaining ozone NAAQS due to emissions from other

states. EPA v. EME Homer City Generation, L.P., 572 U.S. 489, 496-97 (2014).


                                            3
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The Good Neighbor Provision holds states that significantly contribute to another’s

pollution problem to their fair share, so that downwind states do not bear the

regulatory compliance burden alone. Wisconsin v. EPA, 938 F.3d 303, 314 (D.C.

Cir. 2019). The Provision is implemented “consistent with” the rest of the Act,

including the obligation to act “as expeditiously as practicable” and no later than

the statutory attainment date. 42 U.S.C. § 7511(a)(1); Maryland v. EPA, 958 F.3d

1185, 1203-04 (D.C. Cir. 2020).

      Decades ago, EPA developed a 4-step framework that gives meaning to each

critical term in the Provision to implement the Good Neighbor Provision for ozone.

Response to Comments (“RTC”) at 431, Ex. 2. Under that framework, EPA or a

state, if it chooses, would: (1) identify downwind “nonattainment” and

“maintenance” receptors (i.e., monitoring sites that “will” not attain the NAAQS or

struggle to maintain the NAAQS in a future year), Wisconsin, 938 F.3d at 325; (2)

quantify upwind “contrib[utions]” to those downwind receptors by analyzing

“emissions,” id. at 311; (3) evaluate the amount of “contribut[ion]” that is

“significant[]” or “interfere[s]” with “maintenance” through a multifactor analysis,

including cost-effectiveness, id. at 322-23; and (4) ensure the plan contains

adequate provisions “prohibiting” significant emissions, id. at 311. See also 42

U.S.C. § 7410(a)(2)(D)(i), quoted throughout Wisconsin). For Step 2, EPA has

consistently determined an upwind state is linked to a receptor, and subject to


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further analysis, at Step 3, if its emissions contribute an amount of 1% or more of

the NAAQS (0.70 parts per billion (“ppb”) for the 2015 NAAQS) to that receptor.

Wisconsin, 938 F.3d at 311.

      EPA has applied this general framework for decades,1 and courts, including

the Supreme Court, have consistently upheld the framework as “permissible,

workable, and equitable.” EME Homer, 572 U.S. at 524; see also, Midwest Ozone

Grp. v. EPA, 61 F.4th 187, 189 n.1 (D.C. Cir. 2023); Westar Energy, Inc. v. EPA,

Nos. 11-1333, 12-1019, 2015 WL 4067382, *3-4 (D.C. Cir. 2015).

      While many states, including Mississippi, largely follow this framework,

EPA does not require states to do so. Regardless of the approach states take, the

Act obligates EPA to independently evaluate whether a submission contains

“adequate provisions” to comply with the Good Neighbor Provision. 42 U.S.C.

§§ 7410(a)(2)(D)(i)(I); 7410(k)(3). Because many small upwind contributions

combine to generate downwind ozone problems, EPA applies “a consistent set of

policy judgments across all states” and evaluates alternative approaches to ensure

consistency and equity. Final Rule at 9338-40, 9342.




1
  See, e.g., 63 Fed. Reg. 57,356 (Oct. 27, 1998); Final Rule at 9338, 9361 n.246
(listing prior rulemakings).

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      B.     2015 NAAQS and Mississippi’s SIP Submission

      In 2015, EPA strengthened the ozone NAAQS, 80 Fed. Reg. 65292 (Oct. 26,

2015) (“2015 NAAQS”) to 70 ppb, which required each state to submit a plan to

meet its Good Neighbor obligations “as expeditiously as practicable.” See

Wisconsin, 938 F.3d at 313-20.

      In March, August, and October of 2018, EPA issued three memoranda to

provide modeling results and other information that could aid states in developing

their plans (“2018 Memoranda”). See Exs. 3, 4, 5. Each memorandum stated that

final determinations regarding states’ obligations would go through later notice-

and-comment rulemaking based on relevant facts and circumstances. See, e.g.,

October Memo 1-2.

      Mississippi filed its Good Neighbor submission on September 3, 2019. See

Ex. 6 (“Submission”). Mississippi applied Steps 1 and 2 of EPA’s 4-step

framework and declined to proceed to Steps 3 and 4, concluding that, by the year

2023, it would not significantly contribute to nonattainment or interfere with

maintenance of the NAAQS in downwind states. Id. at 3-9.

      Mississippi used EPA’s modeling projections based on 2011 data (“2011-

based modeling”) to conclude that it would contribute 0.79 ppb to one




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nonattainment receptor in Texas (“Deer Park”),2 which was greater than 1% of the

NAAQS (0.70 ppb). Id. at 4-5.

        Mississippi argued the nonattainment receptor would not struggle to

maintain the 2015 NAAQS by 2023, citing the October Memo. That memo

suggested states could potentially exclude a maintenance receptor if certain criteria

indicated that ozone levels were highly likely to remain below the NAAQS at that

location. October Memo 1.

        Mississippi also sought to eliminate the Deer Park linkage, citing the August

Memo. That memo provided that, depending on the “facts and circumstances

underlying a particular SIP,” it may be reasonable to apply a higher contribution

threshold of 1 ppb, but “air agencies should consider whether the recommendations

in this guidance are appropriate for each situation.” August Memo at 1.

Mississippi provided none of the technical analysis contemplated by the August

Memo. Instead, Mississippi referenced EPA guidance for an unrelated CAA

permitting program. Submission at 5-6.

        C.    EPA’s Disapproval of Mississippi’s Submission

        EPA’s assessment of 2015 NAAQS Good Neighbor SIPs was delayed while

it addressed a remand of another Good Neighbor rule for the 2008 ozone NAAQS.

Final Rule at 9365. During this time, EPA updated its modeling projections for


2
    Located in the Houston-Galveston-Brazoria nonattainment area.

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2023 from a 2011-based to a 2016-based platform, with input from states. Id. at

9339. This modeling followed the same approach as the 2011-based modeling but

incorporated updated emissions and meteorological data. Id. at 9339, 9341-42.

      Consistent with its practice and Mississippi’s approach, EPA evaluated

Mississippi’s Submission using the 4-step framework. Id. at 9338. EPA explained

that Mississippi had identified Deer Park as a nonattainment receptor and

improperly relied upon the October Memo to exclude Deer Park because the

Memo addressed maintenance receptors, not nonattainment receptors. 87 Fed.

Reg. 9545, 9555 (Feb. 22, 2022) (“Proposal”) (Ex. 7). EPA further explained that

the October Memo contemplated excluding those receptors where emissions were

consistently trending downward, but Mississippi had ignored 2018 monitoring data

available to Mississippi before its Submission date, showing ozone levels

exceeding the NAAQS at Deer Park. Id. at 9556. And EPA found that Mississippi

had not offered any technical justification for using a 1 ppb contribution threshold

instead of 0.70 ppb (1% of the NAAQS). Id. at 9557. Lastly, EPA’s 2016-based

modeling identified linkages to multiple receptors in Texas. Id. at 9558.

Mississippi commented on EPA’s proposed disapproval but did not provide

another submission. See generally RTC at 72, 121, 186, 233-34.

      In February 2023, EPA finalized its disapproval. Final Rule at 9338, 9357-

58. In a final round of modeling that incorporated public comments, results again


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identified Mississippi as linked to receptors in Texas. Further, monitored ozone

levels through 2022 indicated even greater ozone problems than EPA’s modeling

suggested. Id. at 9349. EPA ultimately determined that Mississippi was linked to

eleven receptors in Texas, id. at 9357-58.

      Thus, each round of modeling linked Mississippi to one or more receptors in

the Houston-Galveston-Brazoria nonattainment area in Texas and showed that

Mississippi was contributing to ozone levels in those areas. EPA explained that

the slight differences in receptors identified in each round meant that Mississippi’s

emissions were substantial enough to link the State to that downwind area, even

under varying metrological conditions in different modeling versions. Id. at 9367.

Because the record reflected that Mississippi was contributing to ozone levels at

nonattainment and maintenance receptors in Texas, but the State did not analyze

that contribution for significance, EPA disapproved the Submission. See id. at

9357-58; 9365-66.

      D.     EPA’s FIP

      The Final Rule triggered EPA’s duty to promulgate a FIP. 42 U.S.C.

§7410(c)(1). On March 15, 2023, EPA signed a FIP for 23 states (“Final FIP”).

Declaration of Rona Birnbaum (“Birnbaum Decl.”) (Ex. 8) ¶¶ 6-8. The Final FIP

establishes cost-effective emissions control requirements through a trading

program for power plants, similar to long-running programs in which Mississippi’s


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plants already participate, and through conventional control measures for certain,

high-emitting units in other industries. Id. ¶¶ 9-14, 18-21, 44, 50-51. The Final

FIP phases in emissions reductions in alignment with statutory attainment dates, at

an achievable pace. Id. ¶¶ 16, 45-54, 70-81.

       The Final FIP will take effect 60 days after publication in the Federal

Register, which has not occurred. Id. ¶¶ 22-23. EPA anticipates an effective date

in August, at which point Mississippi power plants will begin participation in the

trading program for the remainder of the ozone season, which ends September 30.

Id.

III.   Procedural Background

       Numerous states and interested parties have challenged the Final Rule.3

EPA moved to transfer venue to the D.C. Circuit. Several petitioners in this and

other courts moved to stay the Final Rule.

       In this Court, a divided motions panel issued an unpublished, non-

precedential, and non-binding order denying EPA’s venue transfer motion and

granting the motions to stay the Final Rule as it relates to Texas and Louisiana.




3
 See, e.g., West Virginia v. EPA, No. 23-1418 (4th Cir.); Kentucky v. EPA, No. 23-
3216 (6th Cir.); Arkansas v. EPA, No. 23-1320 (8th Cir.); Nev. Cement Co. v. EPA,
No. 23-682 (9th Cir.); Utah v. EPA, No. 23-9509 (10th Cir.); Alabama v. EPA, No.
23-11173 (11th Cir.); Utah v. EPA, Nos. 23-1102, et al. (D.C. Cir.) (consolidated).

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ECF No. 269 (“Texas Order”). After the Texas Order was issued, Mississippi

moved to stay the Final Rule. ECF No. 304.

                                    ARGUMENT

      Mississippi fails to meet its burden to establish a stay is warranted under the

four factors. Mississippi fails to show (1) a strong likelihood of success on the

merits, (2) irreparable injury absent a stay, and that (3) the balance of equities, and

(4) the public interest weigh in favor of a stay. See Nken v. Holder, 556 U.S. 418,

433 (2009). EPA respectfully disagrees with the Texas Order’s findings and

reserves the right to renew both its venue and merits arguments in proceedings as

to all Petitioners in this Court before a merits panel. In any event, outside of the

venue question, the (flawed) reasoning in the Texas Order does not map onto

Mississippi’s stay request, which this Court should deny.

I.    Mississippi Is Unlikely to Succeed on the Merits.

      To assess likelihood of success, the APA’s (5 U.S.C. §§ 701-06) standard of

review applies, which affords great deference to agency decisionmaking. Motor

Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

(1983). Mississippi must make a clear showing that the Final Rule is likely

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

the law.” Texas v. EPA, 829 F.3d 405, 424-25 (5th Cir. 2016) (quotation omitted).

EPA must simply engage in “reasoned decisionmaking” and provide a “rational


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connection between the facts found and the choice made.” Sierra Club v. EPA,

939 F.3d 649, 664 (5th Cir. 2019) (quotation omitted). Particular deference is

owed when EPA’s decision “is based upon its evaluation of complex scientific data

within its technical expertise.” BCCA Appeal Grp. v. EPA, 355 F.3d 817, 824 (5th

Cir. 2003).

      Mississippi fails to make this showing. Rather than refute EPA’s careful

reasoning, Mississippi mischaracterizes the Act’s cooperative-federalism

framework to diminish EPA’s statutory obligation to review SIPs for compliance

with the Act and to dismiss the Good Neighbor Act’s forward-looking analysis.

See Mot. 10-16. Mississippi further mischaracterizes its Submission, the 2018

Memoranda, and the administrative record. Id. 5-7.

      A.      EPA Acted Within Its Statutory Oversight Role.

      SIPs must comply with the Good Neighbor Provision. 42 U.S.C.

§ 7410(a)(2)(D)(i)(I). EPA may approve a SIP submission only “if it meets all of

the [Act’s] applicable requirements.” Id. § 7410(k)(3).

      For Good Neighbor SIPs, EPA must assess whether the submission contains

“adequate provisions” to eliminate significant contributions to ozone levels in

downwind states, and EPA’s framework for evaluating compliance is consistent

with its longstanding, statutorily based approach. See supra Background II.A;

EME Homer, 572 U.S. at 514-15, 518, 524; Final Rule at 9338. This framework is


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no different from other tests that EPA has developed to evaluate SIPs, and

similarly grounded in the text of the Act. See, e.g., BCCA, 355 F.3d at 840

(upholding EPA’s three-part test for determining whether enforceable

commitments were “appropriate” under § 7410(a)(2)(A)).

      Mississippi misunderstands what it means for states to drive the regulatory

process under the Act. Mot. 11-13. While states enjoy wide discretion in

formulating SIPs, including proposing “enforceable emission limitations and other

control measures,” 42 U.S.C. § 7410(a)(2)(A), the Act requires EPA to ensure that

SIPs meet the Act’s statutory requirements, id. § 7410(k)(3). EPA must therefore

determine whether SIPs contain, inter alia, “necessary or appropriate” “control

measures” and “adequate provisions.” Id. § 7410(a)(2)(A), (a)(2)(D)(i)(I). These

determinations necessarily require independent evaluation, statutory interpretation,

and supplemental technical analyses by EPA as the expert agency. Luminant

Generation Co. LLC v. EPA, 714 F.3d 841, 856-57 (5th Cir. 2013). EPA routinely

makes such determinations. See, e.g., 86 Fed. Reg. 43960 (Aug. 11, 2021)

(approving Good Neighbor SIPs based in part on EPA’s independent analyses of

monitoring data and publicly available modeling); 84 Fed. Reg. 24712, 24714

(May 29, 2019) (approving nonattainment plan based in part on EPA’s

supplemental modeling).




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      Although this Court has previously characterized EPA’s role as

“ministerial,” Luminant, 714 F.3d at 846, even then, the Court deferred to EPA’s

independent review. See also Sierra Club, 939 F.3d at 663-64; BCCA Appeal

Grp., 355 F.3d at 832. Nothing in the Act requires EPA’s evaluation of a SIP to be

wholly deferential; this would contravene the plain language of the Act, and courts

have faulted EPA for doing so. See Sierra Club v. EPA, 972 F.3d 290 (3d Cir.

2020) (vacating EPA’s unjustified approval of SIP). In the context of the Good

Neighbor Provision, deferring to a state’s SIP submission could be particularly

inappropriate in evaluating compliance with Good Neighbor obligations to other

States.

      B.       EPA Reasonably Determined Mississippi’s Submission
               Failed to Comply with the Good Neighbor Provision.

      Consistent with its statutory role, EPA carefully considered Mississippi’s

Submission and completed its own technical analysis. Final Rule at 9357, 9366.

EPA ultimately concluded that the Submission did not comply with the Good

Neighbor Provision, a determination well within EPA’s oversight authority and

likely to be upheld. See Westar, 2015 WL 4067382 at 3-4 (upholding EPA

disapproval of Good Neighbor SIP); RTC at 424-32.

      To start, multiple factors distinguish Mississippi’s Submission from Texas’s

and Louisiana’s submissions addressed by the Texas Order. For example,

Mississippi did not claim to provide an alternate framework for evaluating Good

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Neighbor obligations, and its submission post-dated the 2018 Memoranda. See

generally Submission.

      Under any modeling, Mississippi’s attempts to dismiss its contribution to

ozone problems in Texas were inconsistent with the text of the Good Neighbor

Provision and EPA’s judicially upheld interpretation. None of Mississippi’s

arguments to the contrary is persuasive: EPA made no policy change from the

2018 Memoranda; its updated modeling simply confirmed that Mississippi’s

emissions contribute to Texas’s ozone problems. Even under Mississippi’s chosen

2011-based modeling, Mississippi’s Submission should have been disapproved,

see RTC at 60.

      Mississippi identified one nonattainment receptor in Texas, Deer Park, to

which it contributed more than 1% of the 2015 NAAQS. Submission at 5. Under

EPA’s framework, Mississippi next would have been expected to consider

potential emissions reduction opportunities. Final Rule at 9343. Instead,

Mississippi rejected the Step 1 and Step 2 results, claiming that: (1) Deer Park was

not a receptor per the October Memo; and (2) even if it were, Mississippi was not

linked because its contribution was less than 1 ppb, per the August Memo. Mot.

13-17. Neither claim was technically supportable.

      Mississippi incorrectly interprets and applies the October Memo. That

Memo was specific to maintenance receptors, October Memo at 1, and Mississippi


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had identified the Deer Park receptor as a nonattainment receptor. Submission at

5. Even if applicable, Mississippi’s exclusion of the Deer Park receptor was

technically deficient. See Proposal at 9555-56. The October Memo allowed for

potential exclusion from consideration of a maintenance receptor if “ozone

concentrations have been trending downward.” October Memo at 4. But

Mississippi ignored available 2018 data, which showed that ozone concentrations

had risen and exceeded the NAAQS at Deer Park. Submission at 12; Proposal at

9556.

        Thus, EPA’s rejection of Mississippi’s analysis was neither a policy choice

nor change, cf. Mot. 16-17, but an application of the October Memo’s criteria. See

Final Rule at 9370. Mississippi’s other argument—that EPA’s rejection of its

analysis was based on non-statutory factors—is also meritless. See supra

Argument I.A (explaining EPA developed framework to give meaning to the Good

Neighbor Provision). Simply put, EPA’s analytical approach, which the Supreme

Court has approved, directly effectuates the Act’s requirement that SIPs limit

emissions that “contribute significantly to nonattainment in, or interfere with

maintenance by, any other State.” 42 U.S.C. § 7410(a)(2)(D)(i)(I). Mississippi’s

unjustified exclusion of Deer Park directly conflicts with this statutory

requirement.




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      EPA also reasonably determined that Mississippi’s application of a 1 ppb

contribution threshold, instead of 0.70 ppb (1% of the NAAQS), was technically

unsupported. Proposal at 9557. The August Memo provided that states must

adequately support using the higher 1 ppb contribution threshold, August Memo at

1, which EPA has interpreted as needing receptor- and state-specific analysis. See,

e.g., 85 Fed. Reg. 12232, 12237-38 (Mar. 2, 2020). But Mississippi provided no

technical analysis. Proposal at 9557; Final Rule at 9357-58.

      Instead, Mississippi pointed to EPA guidance that 1 ppb can be used as a

“significant impact level” in a different CAA program. Submission at 6-7. EPA

explained, however, that the guidance was inapt and applies in a different

regulatory context—for areas already attaining the NAAQS. Proposal at 9557;

Final Rule at 9372. And that guidance was not to be used to deny contribution or

to allow sources to avoid emissions-control requirements. Id.

      Mississippi incorrectly asserts that EPA’s rejection of its 1 ppb threshold

was based on unlawful policy change. Mot. 14-15. The plain language of the

August Memo and EPA’s consistent application of it make clear—there was no

policy change. EPA’s concerns for recognizing alternative thresholds going

forward, see Final Rule at 9373-75, reflect EPA’s broader thinking and do not

amount to a policy change in the Final Rule. See, e.g., RTC at 295-97 (considering

August Memo). Even if it did, EPA’s policy choices need only “conform to


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minimal standards of rationality,” Luminant, 714 F.3d at 850, and EPA’s concern

for consistent application of a single threshold, which best effectuates the Act’s

Good Neighbor requirements across all states, satisfies this standard.

      Mississippi’s Submission was disapprovable under its chosen 2011-based

modeling and the 2018 Memoranda.

      C.     EPA Reasonably Evaluated SIP Submissions Using the
             Most Accurate Data.

      This Court need not address Mississippi’s criticism of EPA’s review of

updated air quality data, Mot. 17. See Sierra Club, 939 F.3d at 687 (upholding

EPA’s SIP approval based on state’s chosen modeling without reaching merits of

EPA’s modeling). But if considered, this argument falls short.

      Nothing in the Act prohibits EPA from considering the most accurate, up-to-

date data to evaluate Good Neighbor obligations, and EPA consistently considers

such data. See, e.g., 81 Fed. Reg. 53284, 53284-86 (Aug. 12, 2016); 81 Fed. Reg.

74504, 74507 (Oct. 26, 2016). It would be “anomalous” for EPA to ignore more

reliable data, as the Good Neighbor Provision focuses on air-quality conditions in a

future year, here 2023.4 Wisconsin, 938 F.3d at 321-22; Final Rule at 9366. EPA’s

reliance on the most accurate data upholds its duty to act reasonably whereas



4
 Mississippi’s allegation of delay is irrelevant. Mot. 17-19. Only one remedy
exists for EPA’s failure to meet a nondiscretionary duty to act in time: a court-
ordered deadline. See 42 U.S.C. § 7604(a)(2).

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accepting inaccurate, outdated data risks arbitrariness. See Sierra Club v. EPA,

671 F.3d 955, 967-68 (9th Cir. 2012) (finding arbitrary and capricious EPA’s

failure in SIP review to consider newly available data).

      Mississippi mistakenly relies on Sierra Club v. EPA, 356 F.3d 296 (D.C.

Cir. 2004) and EPA’s actions in other contexts to argue that EPA’s “longstanding

policy” requires limiting its analysis to modeling “available at the time of SIP

development,” Mot. 19 (quoting 81 Fed. Reg. 59876, 59878 n.15 (Aug. 31, 2016)).

No such “longstanding policy” exists. See, e.g., 86 Fed. Reg. 67329, 67332 (Nov.

26, 2021) (“[I]t would be inappropriate for the EPA to ignore monitoring data that

clearly establish, as a factual matter, that the [state’s] attainment demonstration

failed to provide for attainment.”).

      Also, the case and federal action that Mississippi reference address a

different CAA requirement that states incorporate a “current inventory of actual

emissions” in nonattainment plans. 42 U.S.C. § 7502(c)(3) (emphasis added);

RTC 61. By contrast, the Good Neighbor Provision requires analyzing whether

emissions “will” contribute to another state’s ozone problem, which is a forward-

looking analysis. The data Mississippi had available and the additional data EPA

considered were both relevant.

      EPA committed no “surprise switcheroo.” See Mot. 18 (quotation omitted).

The text accompanying the 2011-based modeling contained multiple caveats and


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did not provide that using the 2011-based modeling would guarantee EPA’s

approval of a SIP submission. March Memo at 1-4; Proposal at 9556; Final Rule

at 9340. The 2016-based modeling released at proposal and refined at final in

response to comments (including from Mississippi, see Mot. 9; RTC at 121, 186-

87, 365-66) identified Mississippi as linked to receptors in the Houston-Galveston-

Brazoria nonattainment area in 2023, Proposal at 9557, and reinforced EPA’s

determination that Mississippi potentially “contribute[s] significantly to

nonattainment in, or interfere[s] with maintenance” of the NAAQS in Texas. 42

U.S.C. § 7410(a)(2)(D)(i)(I); Proposal at 9557-58; Final Rule at 9367; RTC at 201;

see also Long Island Care at Home, Ltd. v. Coke, 551 U.S. 158, 170-71 (2007)

(holding that an ability to comment in rulemaking was “unlikely” to create “unfair

surprise”).

      Under any version of EPA modeling, and reinforced by the most up-to-date

monitoring data, Mississippi is contributing to air quality problems in Texas.

There was no “switch[]” in EPA’s ultimate determination, nor can Mississippi

claim “surprise” by the updated modeling’s results.

      If the Court considers this argument (which it need not), Mississippi cannot

succeed on the merits here.




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II.   Mississippi Has Not Shown Irreparable Harm Absent a Stay.

      Mississippi fails to carry its burden of establishing irreparable harm absent a

stay. Irreparable harm must be “both certain and great,” i.e., “actual and not

theoretical,” Wis. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985), nor

“speculative,” Louisiana v. Biden, 55 F.4th 1017, 1034 (5th Cir. 2022). The Texas

Order cannot establish irreparable harm as to Mississippi, as the propriety of a stay

“is dependent upon the circumstances of the particular case,” United States v.

Transocean Deepwater Drilling, Inc., 537 F. App’x 358, 360 (5th Cir. 2013)

(quotation omitted), and each petitioner bears its own burden.

      Mississippi’s three-month delay in moving to stay blunts its “claim of

urgency and counsels against the grant of a stay.” Ruckelshaus v. Monsanto Co.,

463 U.S. 1315, 1318 (1983). Indeed, Mississippi describes no compliance efforts

it has made nor any harm that it is actually incurring or will incur in the near

future, before this litigation may be resolved. U.S. Navy Seals 1-26 v. Biden, 27

F.4th 336, 352–53 (5th Cir. 2022) (requiring showing irreparable harm during the

pendency of appeal). Its vague allegations of “disruption” to the cooperative-

federalism framework are insufficient to find irreparable harm for the reasons

explained supra Argument I.A. Moreover, the FIP preserves choice, Birnbaum

Decl. ¶ 81 (the FIP “does not require or mandate any specific pollution control




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installation”), and Mississippi may always replace the FIP with a SIP that complies

with the Act. Final Rule at 9362.

      The State’s failure to make such a showing is unsurprising. The Final Rule

imposes no obligations on Mississippi or Mississippi sources. Final Rule at 9364.

Any alleged harm instead stems from the Final FIP, which also requires nothing of

the State. Cf. Mot. 20-21. And, the Final FIP has not taken effect. Through 2025,

the Final FIP will encourage Mississippi power plants to run their existing

pollution controls and make modest “combustion control” upgrades at a single

plant—comparable to strategies successfully implemented under recent rules.

Birnbaum Decl. ¶¶ 45-49. This is not irreparable harm. Moreover, Mississippi has

an adequate remedy under the law and has not shown that harm traceable to the

FIP is irreparable absent a stay in this case: it may challenge and seek to stay the

Final FIP.5 See Sampson v. Murray, 415 U.S. 61, 90 (1974).

      Mississippi generally describes potential compliance costs associated with

the Final FIP, Mot. 20-21, but provides no specifics of impending irreparable

harm. For example, the Smith Declaration claims that Mississippi Power must

install expensive controls at two plants by 2026 or 2027, Smith Decl. ¶¶ 12-14, 22,

but one is already slated for retirement in 2027, and all plants have options for



5
  Mississippi cannot attack the merits of the FIP here. This Court lacks jurisdiction
to review that separate action. See 42 U.S.C. § 7607(b)(1).

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compliance under the trading program that may not require installing new controls

if uneconomical. Birnbaum Decl. ¶¶ 80-81. Further, those costs are years away;

Mississippi’s challenge will be resolved well before.

      Even if Mississippi’s alleged harms were imminent, they are not certain.

Mississippi alleges vague and unsubstantiated concerns about the proposed FIP’s

potential impact on grid reliability. But the Final FIP will not “disrupt[] the

reliable operation of the bulk power grid,” Birnbaum Decl. ¶ 43; see also id.

¶¶ 59-60, 79; and its effect on retail electricity prices is projected to be 0 % in 2023

and negligible through 2025. Id. ¶ 61.

      Mississippi asserts that the FIP will require sources to install new emissions

controls, buy allowances, or shift generation to more expensive units. But

Mississippi ignores that its recent emissions are already less than the allowances

that will be available for compliance in 2023—even accounting for the conversion

of its current allowances for use in the new program. Birnbaum Decl. ¶¶ 70-78.

Even if Mississippi sources chose to purchase allowances, concerns about high

prices are speculative; allowance prices decreased after EPA released the

prepublication copy of the FIP and are trading at a fraction of the prices

Mississippi cites. Id. ¶¶ 63-69. This kind of erroneous speculation is not

irreparable harm.




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III.   The Balance of Equities and Public Interest Disfavor a Stay.

       Mississippi glosses over the remaining factors and fails to show “that the

balance of equities tips in [its] favor, and that a[] [stay] is in the public interest.”

Winter v. NRDC, 555 U.S. 7, 20 (2008).

       The Good Neighbor Provision addresses the intractable problem of upwind

states’ emissions significantly contributing to downwind states’ pollution

problems. Yet Mississippi proposed to do nothing to limit its emissions.

       A stay would leave no law on the books to address these harmful emissions,

hamstring EPA’s efforts to implement the FIP, and undermine Congress’s directive

for upwind states to lower emissions as expeditiously as practicable. A stay would

also harm the health and welfare of those who live in downwind states, Birnbaum

Decl. ¶¶ 10-16; and lead to inequitable results, impeding downwind states from

attaining the NAAQS, while Mississippi “reaps the benefits . . . without bearing all

the costs,” EME Homer, 572 U.S. at 495.

       Mississippi’s concerns about grid reliability are groundless, supra Argument

II, and past delay does not justify more delay on matters of important public health

protection.6 Indeed, further delay contravenes the Act’s requirements. See supra




6
 Even Mississippi contributed to delay; its Submission, due in 2018, was not
submitted until September 2019. See 42 U.S.C. § 7410(a)(1).

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Background II.A. Nor has prior delay prejudiced Mississippi, as the updated

modeling was not dispositive to EPA’s disapproval, see supra Argument I.B.

      Mississippi incurs no harm, but the impacts of its failure to address its role in

poor air quality are occurring now, affecting millions of citizens and imposing

unfair regulatory burden on those downwind. See Wisconsin, 938 F.3d at 314.

These factors weigh heavily in favor of denying Mississippi’s stay motion.

                                  CONCLUSION

      Mississippi’s stay motion should be denied.

                                           Respectfully submitted,

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                      CERTIFICATES OF COMPLIANCE

      I hereby certify that this motion complies with the requirements of Fed. R.

App. P. 27(d)(2)(A), because it contains 5,197 words according to the count of

Microsoft Word, excluding the parts of the motion exempted by Fed. R. App. P.

32(f), and therefore is within the word limit of 5,200 words.

      I further certify that this motion complies with the requirements of Fed. R.

App. P. 32(a)(5) and (6) because it has been prepared in 14-point Times New

Roman, a proportionally-spaced font, and is double-spaced, except for headings,

block quotes, and footnotes.



Dated: May 30, 2023

                                                _/s/ Sarah Izfar___
                                                SARAH IZFAR




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                         CERTIFICATE OF SERVICE

      I hereby certify that I served the foregoing EPA’s response in opposition to

the motion for stay of the Final Rule on all registered counsel through the Court’s

electronic filing system (CM/ECF).



Dated: May 30, 2023

                                                /s/ Sarah Izfar_____
                                                SARAH IZFAR




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